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USDCFLSD2458(Reï.09/08)-JudbnnentinaCriminalCase                                                                        Paye1of6

D ate ofO riginalJudgm ent: A pril11,2013
(orDateofLastAmendedJudgment)
Reason forA mendm ent:
V PursuanttoModificationofRestitutionOrder(18U.S.C.j3663A

                       U M TE D STA TE S D ISTR IC T C O U R T
                                            Southern D istrictofFlorida
                                                      M iam iDivision
                                                                               AM ENDED
UNITED STATES OF AM ERICA                                               JUDGM ENT IN A CRIM INAL CASE
                                                                        CaseNumber:12-20496-CR-M ARTINEZ
                                                                        USM Number:98219-004
                                                                        CounselForDefendant:PaulPetruzzi
 THOM AS PATRICK KEELAN                                                 CounselForTlieUnitedStates:RoyAltman
                                                                        CourtReporter:DawnW hitmarsh


 Thedefendantwasfound guilty on countts)1and2oftheIndictment.
 Thedefendantisadjudicatedguiltyoftheseoffenses:
TITLE & SECTION                 NATURE O F OFFENSE                                                 O FFENSE
                                                                                                   ENDED            CO UNT
 18U.S.C.j'2422(b)                                                      ty-
                                enticementofaminortoengagein sexualactivi      .
                                                                                                     2011           1
i18U.S.C.j.2422(1$              enticementofaminortoengayeinsexualactivitj
                                                          -                    .
                                                                                                   06/16/2012       2

 Thedefendantissentencedasprovidedinthefollowingpagesofthîsjudgment.ThesentenceisimposedpursuanttotheSentencing
 Reform Actof 1984.
 ItisorderedthatthedefendantmustnotifytheUnited Statesattorney tbrthisdistrictwithin 30 daysofanychangeofname,
 residence,ormailingaddressuntilalIfines,restitution,costs,and speclalasscssmentsimposedbythisjudgmentarefullypaid.lf
 ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in econom ic
 circumstances.



                                                                                      Dateoflmposi
                                                                                                 ti
                                                                                                  onofsent
                                                                                                         ence:4/11/2013
                                                                                                          7                   .
                                                                                                    f

                                                                                      JoseE artin
                                                                                      Unite StatesDistrictJudge


                                                                                      Date:
                                                                                              3                bl
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                                  naCri
                                      minalCase                                                                 Page2of6

DEFENDAN T:THOM AS PATRICK K EELAN
CASE NUM BER:12-20496-CR-M ARTINEZ

                                                  IM PRISON M ENT
 The defendantishereby com mitted to the custody ofthe United States Bureau ofPrisonsto be imprisoned fora totalterm of200
 m onths.Thissentenceconsistsoftermsof200 m onthsasto each ofCountsOne and Two,to beserved concurrently.
 The courtmakesthefollowing recom m endationsto the Bureau ofPrisons;
 The defendantshallbe assigned to a facility at FCI M clkean,in NorthwestPennsylvania.or FCl Otisville.in New York
 com m ensuratewith hisbackground and the offenseofwhich he standsconvicted.



 Thedefendantisrem anded to the custody ofthe United StatesM arshal.

                                                       RETURN
  lhaveexecutedthisjudgmentasfollows:




  Defendantdelivered on                                               to

  at                                              ,withacertifiedcopyofthisjudgment.



                                                                                 UNITED STATES M ARSHAL



                                                                                 DEPUTY UNITED STATES M ARSHAL
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DEFENDANT:THO M AS PATRICK KEELAN
CASE NUM BER:12-20496-CR-M ARTINEZ

                                                    SUPERVISED R ELEA SE
Uponreleasefrom imprisonm ent,thedefendantshallbeon supervisedreleaseforaterm of25 years,astoeach ofCountsOneand
Two,to beserved concurrently.
Thedefendantm ustreportto theprobation oftice in thedistricttowhich thedefendantisreleasedw ithin 72 hoursofreleasefrom the
custody ofthe BureauofPrisons.
The defendantshallnotcom mitanotherfederal,state orlocalcrime.
Thedefendantshallnotunlawfullypossessacontrolledsubstance.Thedefendantshallrefrainfrom anyunlawfuluseofacontrolled
substance.Thedefendantshallsubmltto onedrugtestwithin 15 daysofreleasefrom im prisonmentand atleasttwo periodicdrug tests
thereafter,asdetermined by the court.
ThedefendantshallcomplywiththerequirementsoftheSexOffenderRegistration and NotificationAct(42 U.S.C.j16901.
etseq.)asdirected by theprobationofficer,theBureauofPrisons,oranystatesexoffenderregistration agencyinwhich heor
she resides,works,isa student,orwas convicted ofa qualifying offense.
Thedefendantshallnotpossessa firearm .am munition,destructive deviee.or any other dangerousweapon.
The defendantshallcooperate in the collection ofDNA asdirected by the probation officer.
Ifthisjudgmentimposesatineorrestitution,itisacondition ofsupervised releasethatthedefendantpay in accordancewith the
ScheduleofPaymentssheetofthisjudgment.
Thedefendantm ustcomplyw iththestandardconditionsthathavebeenadoptedbythiscourtaswellaswithanyadditionalconditions
on the attached page.
                                   STAND AR D CON DITION S OF SUPERW SIO N
         Thedefendantshallnotleavethcjudicialdistriçtwithoutthepermissionofthecoul'
                                                                                  torprobationofticer;
     2. Thedefendantshallreporttotheprobationofficerandshallsubmitatruthfulandcompletewrittenreportwithinthefirsttifteendaysof
        eachdmo
     3. The  efenntda
                   h'
                    ,ntshallanswertruthfully allinquiriesbytheprobationofficerand follow theinstructionsoftheprobationofïicer'
                                                                                                                             s
     4. Thedefendantshallsupporthisorherdependentsand meetotherfamily responsibilitits' ,
     5. Thedefendantshallworkregularly atalawfuloccupation,unlessexcused bytheprobationofficerforschooli
     .
                                                                                                            ngptraining,orothcr
         acceptablereasons;
         Thedefendantshallnotifytheprobationofticeratleasttendayspriortoany changeinresidenceoremployment'     ,
         The defendantshallrefrainfrom excessiveuseofalcoholand shallnotpurchase,possess,use,distribute,oradministeranycontrolled
         substanceoranyparaphernaliarelatedto any controlledsubstances,exceptasprescribedbyaphysician' ,
         Thedefendantshallnotfrtquentplactswherecontrolledsubstancesareillegally sold,used,distributed,oradministered',
         The defendantshallnotassociatewfth anypersonsengagedincriminalactivityandshallnotassociatewith anyperson ctmvictedofa
         felony,unlessgrantedpermissiontodosobytheprobationofficer'   ,
         Thedefendantshallpermitaprobationofficertovisithim orheratany timeathomeorelsewhereandshallpermitclmfiscationofany
         contrabandobserved inplainview oftheprobationofficer' ,
      11. Thedefendantshallnotifytheprobationofticerwithin seventy-twohoursofbeingarrestedorquesti onedbyalaw enforcementoft   k er,
                                                                                                                                   '
      12.Thedefendantshallnotenterinto anyagreementtoactasan informerora specialagentofaIaw enforcementagencywithoutthe
          permissionofthecourt;and
      l3. Asdirected bytheprobationofficcr,thedefendantshallnotifythirdpadiesofrisksthatmaybeoccasionedby thedefendant'scriminal
          recordorpersonalhistoryorcharacteristicsandshallpermittheprobationofticertomakesuchnotificationsandtocontirm thedefendant's
          compliancewithsuchnotificationrequirement.
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                             qnentinaCriminalC%e                                                               Page4of6

DEFENDAN T:THOM AS PATRICK KEELAN
CASE NUM BER;12-20496-CR-M ARTINEZ
                                    SPECIAL COND ITIO NS O F SUPER VISION
 A dam W alsh ActSearch Condition -The defendantshallsubmittotheU .S.Probation O fficer eonducting periodic
  unannounced searchesofthedefendant'sperson,property,house,residence,vehicles,papers,computerts)!other
  electroniccommunicationordatastoragedevicesormedia,includeretrievalandcopyingofaIIdatafrom thecomputerts)
  and any internalor externalperipheralsand effectsatany time.with orwithoutwarrantby any Iaw enforcem entor
  probation officerwith reasonablesuspicion concerning unlawfulconduetor a violation ofa condition ofprobation or
  supeaisedrelease.Thesearch may includetheretrievaland copyingofalIdatafrom thecomputerts)and any internalor
  externalperipheralsto ensurecom pliancew ith other supervision conditionsand/or rem ovalofsuch equipmentforthe
  purposeofconductingamorethorough inspection;andtohaveinstalledonthedefendant'scomputerts),atthe
  defendant'sexpense,any hardware orsoftware system sto m onitor the defendant'scom puter use.
  FinancialDisclosureRequirement-Thedefendantshallprovidecom pleteaccessto financialinform ation.including
  disclosure ofallbusinessand personalfinanees,to theU.S.Probation Officer.
  No Contactwith M inors-Thedefendantshallhave no personal.m ail,telephone,orcom puter eontactwith
  children/m inorsunderthe age of18 or with thevictim .
  NoContactwith M inorsin Employment-Thedefendantshallnotbeemployed inajob requiring contactwith children
  undertheage of18 orwith thevictim.
  No Involvementin Youth Organizations-The defendantshallnotbeinvolved in any children'soryouth organization.
   No New DebtRestriction -Thedefendantshallnotapply for,solicitorineur any further debt.included butnotIimited to
   Ioans,linesofcreditorcreditcard charges,eitheras a principalor cosigner,as an individualorthrough any corporate
   entity.withoutfirstobtaining perm ission from theUnited StatesProbation Officer.
   Restricted from Possession ofSexualM aterials-The defendantshallnotbuy,sell,exthange,possess,trade,orproduce
   visualdepictionsofminorsoradultsengaged in sexually explicitconduct.The defendantshallnotcorrespond or
   comm unicate in person.by m ail,telephone,orcom puter.with individualsorcompaniesoffering to buy.sell,trade,
   exchange,or produce visualdepictionsofminorsoradultsengaged in sexually explicitconduct.
   Sex Offender Registration -The defendantshallcom ply with therequirem entsofthe Sex O ffender Registration and
   NotificationAct(42U.S.C.b16901,etseq.)asdirected bytheprobation officer,theBureau ofPrisons,oranystatesex
   offender registration agency in which he or she resides.works,isa student,orwasctnvicted ofa qualifying offense.
   SexO ffenderTreatm ent-The defendantshallparticipate in a sex offendertreatment program to includepsychological
   testing and polygraph exam ination.Participation m ay include inpatient/outpatienttreatm ent,ifdeemed necessary by the
   treatmentprovider.Thedefendantwillcontributetothecostsofservicesrendered(co-payment)based onability topayor
   availability ofthird party payment.
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DEFEN DAN T:THOM AS PATRICK KEELAN
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                                    C RIM INAL M ON ETARY PENA LTIES
 Thedefendantmustpay the totalcriminalmonetary penaltiesunderthescheduleofpaym entson Sheet6.
                                      Assessm ent                      Fine                      Restitution
       TOTALS                           $200.00                        $0.00                     $104,886.05


 Thedefendantmustmakerestitution(includingcommunityrestitution)totheattachedlistofpayeesintheamountlisted below.
 lfthe defendantmakes a partialpaym ent,each payee shallreceive an approxim ately proportioned paym ent,unless speciGed
 otherwiseinthepriorityorderorpercentagepaymentcolumnbelow. However,pursuantto l8U.S.
                                                                                    C .j3664(1),allnonfederal

NAM E O F PAY EE                                                     RESTITUTIO N ORDERED PRIO RITY O R
or.zachac salzman                                        TOTAL LOSS* s1t)4?886.ns         kPERCENTAGE
 Restitutionwithlmprisonment-ltisfurtherorderedthatthedefendantshallpayrestitutionintheamountof$104,886.05.
 Duringtheperiodofincarceration,paymentshallbemadeasfollows;(1)ifthedefendantearnswagesinaFederalPrisonlndustries
 IIJNICORIjob,thenthedefendantmustpay50% ofwagesearnedtowardthefinancialobligationsimposedbythisJudgmentina
 CriminalCase;(2)ifthedefendantdoesnotworkinaUNlCORjob,thenthedefcndantmustpayaminimum of$25.00perquarter
 towardthe financialobligationsim posed in thisorder.
 Uponreleasefrom incarcerationsthedefendantshallpayrestitutionattherateof10% ofmonthlygrossearninjs,untilsuchtimeas
 theCourtmayalterthatpaymentscheduleintheinterestsofjustice. TheU.S.BureauofPrisons,U.S.ProbatlonOfficeandU.S.
 Attorney'sOfficeshallmonitorthe paym entofrestitution and reportto the Courtany materialchange in the defendant'sability to
 pay. These paymentsdo notpreclude thegovernmentfrom using any otheranticipated orunexpected tinancialgains,assetsor
 income ofthe defendantto satisfy therestitutionobligations. Therestitution shallbem adepayable to Clerk,United StatesCourts,
 and forwardedto theaddressbelow.
 The restitution willbe forwarded by the Clerk ofthe Coul
                                                        '
                                                        tto thevictim on the attaehed list.


  + Findingsforthetotalamountoflossesarerequired underChapters109A,110,1IOA,and 113A ofTitle 12 foroffensescomm itted
  onorafterSeptember 13,1994,butbeforeApril23,1996.
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                                        nalCase                                                                 Page6of6
DEFENDANT:THO M AS PATRICK KEELAN
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                                            SCH EDULE O F PA YM ENTS
 Havingassessed the defendant'sability to pay,paymentofthetotalcrim inalmonetary penaltiesis due asfollow s:
 A.Lump sum paym entof$200.00 due im m ediately.
 Unlessthecourthasexpresslyorderedothenvise,ifthisjudgmentimposesimprisonment,paymentofcriminalmonetarypenaltiesis
 due during imprisonment.Allcrim inalmonetary penalties,exceptthose payments made through the FederalBureau ofPrisons'
 Inmate FinancialResponsibility Program,are madeto the clerk ofthe court.
 Thedefendantshallreceive creditfora1lpaym entspreviously made toward any crim inalmonetary penaltiesimposed.
 Thisassessment/tine/restitution ispayabletotheCLERK,UNITED STATES COURTSandistobeaddressedto:
 U.S.CLERK'S OFFICE
 ATTN:FINANCIA L SECTION
 400 NO RTH M IAM IAVEN UE.RO OM 08N09
 M IAM I.FLORIDA 33128-7716
 Jointand Several
 DefendantandCo-DefendantNamesandCaseNumbers(including defendantnumber),TotalAmount,Jointand SeveralAmount,
 and corresponding payee,ifappropriate.
CASE NUM BER                                                                               JOINT AND SEVERAL
DEFENDA NT AND CO -DEFENDANT NA M ES        -                      TO TAL AM O UNT         AM O UNT
(INCLUDING DEFENDANT NUM BER)

 Paymentsshallbeappliedinthefollowingorder:(1)assessment,(2)restitutionprincipal,(3)restitutioninterest,(4)fineprincipal,
 (5)fineinterest,(6)communityrestitution,(7)penalties,and(8)costs,includingcostofprosecution andcourtcosts.
